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   1   M O L L Y M. L E N S ( S. B. # 2 8 3 8 6 7)
         ml e n s @ o m m. c o m
   2   M A T Tff E W K AI S E R ( S. B. # 3 0 4 7 1 4)
       m k ai s er @ o m m. c o m
   3   D A NI E:t L E R. F E U E R ( S. B. # 3 2 4 1 7 4)
       df e u er @, o m m. c o m
   4   O' M Et v E N Y & M Y E R S L L P
       1 9 9 9 A v e n u e of t h e St ars , 8t h Fl o or
   5   L os A n g el e s , C alif or ni a 9 0 0 6 7- 6 0 3 5
       T el e p h o n e: + 1 3 1 0 5 5 3 6 7 0 0
   6   F a csi mil e: + 1 3 1 0 2 4 6 6 7 7 9
   7
       Att o r n e y s f o r D ef e n d a nt
   8   P a r a m o u nt Pi ct ur es C or p or ati o n
   9
                                    U NI T E D S T A T E S DI S T RI C T C O U R T
  10
                                  C E N T R A L DI S T RI C T O F C A LI F O R NI A
  11
  12
       S H O S H Y O N A Y a n d Y U V A L Y O N A Y,               C a s e N o . 2:2 2- C V- 3 8 4 6- P A
  13
                                  Pl ai ntiff s ,                   D E C L A R A TI O N O F
  14                                                                M A T T H E W K AI S E R I N
                V.                                                  S UPP O RT OF P A R A M O U NT
  15                                                                P I C T U R E S C O R P O R A T I O N' S
       P A R A M O U N T PI C T U R E S                             N O TI C E O F M O T I O N A N D
  16   C O R P O R A TI O N , a D el a w ar e c or p or ati o n ,   M O TI O N F O R S U M M A R Y
       a n d D O E S 1- 1 0 ,                                       J U D G ME NT
  17
                                  D ef e n d a nt s .               H e a ri n g D at e: J a n u ar y 8, 2 0 2 4
  18                                                                H e a ri n g Ti m e: 1: 3 0 P M
                                                                    Pl a c e: C o urtr o o m 9 A
  19                                                                J u d g e: H o n . P er c y A n d er s o n
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                                 K AI S E R D E C L A R A TI O N I S O P P C ' S
                                                                            M O TI O N F O R S U M M A R Y J U D G M E N T
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   1            I, M att h e w K ai s er , d e cl ar e a n d st at e:
   2             1.       I a m a m e m b er i n g o o d st a n di n g of t h e St at e B ar of C alif or ni a a n d a m
   3   a c o u n s e l at O' M el v e n y & M y er s L L P.
   4            2.        I a m c o u n s el f or D ef e n d a nt P ar a m o u nt Pi ct ur e s C or p or ati o n
   5   ( " P P C ") i n t h e a b o v e -e ntitl e d a cti o n, a n d I m a k e t his d e cl ar ati o n i n s u p p ort of
   6   P P C' s M oti o n f or S u m m ar y J u d g m e nt (t h e " M oti o n "). I h a v e p er s o n al k n o wl e d g e
   7   of t h e m att er s s et f ort h i n t his d e cl ar ati o n a n d if c all e d t o t e stif y t o t h e f a cts st at e d
   8   h er ei n, I c o ul d a n d w o ul d d o s o c o m p et e ntl y .
   9                                              L. R. 7- 3 M e et a n d C o nf e r
  10             3.       O n O ct o b er 1 1 , 2 0 2 3 , m y c oll e a g u e D a ni ell e F e u er s e nt Pl ai ntiff s '
  11   c o u n s el a m e et- a n d -c o nf er l ett er p ur s u a nt t o L o c al R ul e 7- 3 a d vi si n g Pl ai ntiff s '
  12   c o u n s el of P P C' s i nt e nt t o fil e t h e M oti o n as w ell as a m oti o n t o e x cl u d e t h e e x p ert
  13   r e p ort a n d t e sti m o n y of H e nr y B e a n a n d o utli ni n g t h e gr o u n d s f or b ot h m oti o ns.
  14            4.        O n O ct o b er 1 3 , 2 0 2 3 , m y c oll e a g u e D a ni ell e F e u er a n d I m et a n d
  15   c o nf err e d wit h Pl ai ntiff s ' c o u n s el M ar c T o b er off vi a Z o o m vi d e o c o nf er e n c e a b o ut
  16   t h e gr o u n d s f or a n d s u b st a nti v e l e g al ar g u m e nt s i n s u p p ort of t h e M oti o n . T h e
  17   p arti e s w er e u n a bl e t o r e a c h a r e s ol uti o n.
  18                                                             E x hi bit s
  19             5.       Att a c h e d h er et o as E x hi bit 1 is a tr u e a n d c orr e ct c o p y of a n e x c er pt of
 20    N o M a r gi n f o r E r r o r b y E h u d Y o n a y , pr o d u c e d b y Pl ai ntiff s i n t his m att er wit h t h e
 21    B at e s n u m b er s Y O N A Y 0 0 0 5 6- Y O N A Y 0 0 0 5 7 a n d Y O N A Y 0 0 5 0 1 , a n d m ar k e d
 22    as E x hi bit 3 6 t o Pl ai ntiff S h o s h Y o n a y ' s O ct o b er 5, 2 0 2 3 d e p ositi o n.
 23              6.       Att a c h e d h er et o as E x hi bit 2 is a tr u e a n d c orr e ct c o p y of e x c er pt s
 24    fr o m Pl ai ntiff S h o s h Y o n a y ' s O ct o b er 5, 2 0 2 3 d e p o siti o n .
 25              7.       Att a c h e d h er et o as E x hi bit 3 is a tr u e a n d c orr e ct c o p y of t h e w e b p a g e
 26    htt p :/w w w .y o n a y oli v e s .c o.il /Sit e /h e /p a g e s/i n P a g e. a s p ? c atl D = 7 4 , as it a p p e ar e d o n
 27    N o v e m b er 2 3 , 2 0 1 0 , r etri e v e d b y m e o n A u g u st 1, 2 0 2 3 u si n g
 28    htt ps: //w w w .ar c hi v e .c o m , pr o d u c e d b y P P C i n t his m att er wit h t h e B at e s n u m b er s
                                                                                             K AI S E R D E C L A R A TI O N I S O P P C ' S
                                                                        1               M O TI O N F O R S U M M A R Y J U D G M E N T
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   1   T G M 0 1 6 8 1 5 8 - T G M 0 1 6 8 1 6 0 , a n d m ar k e d as E x hi bit 3 1 t o Pl ai ntiff S h o s h
   2   Y o n a y' s O ct o b er 5, 2 0 2 3 d e p ositi o n.
   3             8.       Att a c h e d h er et o as E x hi bit 4 is a tr u e a n d c orr e ct c o p y of t h e w e b p a g e
   4   htt p :/w w w. y o n a y oli v e s. c o.il /Sit e /h e /p a g e s/i n P a g e. a s p ? c atl D = 7 4 , as it a p p e ar e d o n
   5   D e c e m b er 2 6 , 2 0 2 0 , r etri e v e d b y m e o n A u g u st 1, 2 0 2 3 u si n g
   6   htt ps: //w w w. ar c hi v e. c o m , pr o d u c e d b y P P C i n t his m att er wit h t h e B at e s n u m b er s
   7   T G M 0 1 6 8 1 5 5 - T G M 0 1 6 8 1 5 7 , a n d m ar k e d as E x hi bit 3 2 t o Pl ai ntiff S h o s h
   8   Y o n a y ' s O ct o b er 5, 2 0 2 3 d e p o siti o n .
   9            9.        Att a c h e d h er et o as E x hi bit 5 is a tr u e a n d c orr e ct c o p y of Pl ai ntiff
  10   S h o s h Y o n a y ' s A u g u st 2 1 , 2 0 2 3 A m e n d e d R e s p o n s e s a n d O bj e cti o n s t o P P C ' s
  11   Fir st S et of R e q u e st s f or A d mi s si o n .
  12             10 .     Att a c h e d h er et o as E x hi bit 6 is a tr u e a n d c orr e ct c o p y of Pl ai ntiff
  13   Y u v al Y o n a y ' s A u g u st 2 1 , 2 0 2 3 A m e n d e d R e s p o n s e s a n d O bj e cti o n s t o P P C ' s
  14   Fir st S et of R e q u e st s f or A d mi s si o n .
  15             1 1.     Att a c h e d h er et o as E x hi bit 7 is a tr u e a n d c orr e ct c o p y of Pl ai ntiff
  16   S h o s h Y o n a y ' s S e pt e m b er 2 8 , 2 0 2 3 R e s p o n s e s a n d O bj e cti o n s t o P P C ' s S e c o n d S et
  17   of I nt err o g at ori e s .
  18             12 .     Att a c h e d h er et o as E x hi bit 8 is a tr u e a n d c orr e ct c o p y of Pl ai ntiff
  19   Y u v al Y o n a y ' s S e pt e m b er 2 8 , 2 0 2 3 R e s p o n s e s a n d O bj e cti o n s t o P P C ' s S e c o n d S et
 20    of I nt err o g at ori e s.
 21              13 .     Att a c h e d h er et o as E x hi bit 9 is a tr u e a n d c orr e ct c o p y of Pl ai ntiff s '
 22    Fir st A m e n d e d C o m pl ai nt , fil e d A u g u st 3 1 , 2 0 2 2 as E C F D o c k et N o . 1 6.
 23              14 .     Att a c h e d h er et o as E x hi bit 1 0 is a tr u e a n d c orr e ct c o p y of t h e J ul y 7,
 24    2 0 2 3 E x p ert R e p ort of H e nr y B e a n .
 25              15 .     Att a c h e d h er et o as E x hi bit 1 1 is a tr u e a n d c orr e ct c o p y of e x c er pt s
 26    fr o m H e nr y B e a n' s S e pt e m b er 1 3 , 2 0 2 3 d e p o siti o n .
 27              16 .     Att a c h e d h er et o as E x hi bit 1 2 is a tr u e a n d c orr e ct c o p y of Pl ai ntiff
 28    S h o s h Y o n a y ' s A u g u st 2 1 , 2 0 2 3 A m e n d e d R e s p o n s e s a n d O bj e cti o n s t o P P C ' s
                                                                                             K AI S E R D E C L A R A TI O N I S O P P C ' S
                                                                       2                M O TI O N F O R S U M M A R Y J U D G M E N T
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      I   Fir st S et of I nt err o g at ori e s.
     2             17 .     Att a c h e d h er et o as E x hi bit 1 3 is a tr u e a n d c orr e ct c o p y of Pl ai ntiff
     3    Y u v al Y o n a y ' s A u g u st 2 1, 2 0 2 3 A m e n d e d R es p o ns es a n d O bj e cti o ns t o P P C ' s
     4    Fir st S et of I nt err o g at ori es.
     5             1 8.     Att a c h e d h er et o as E x hi bit 1 4 is a tr u e a n d c orr e ct c o p y of a
     6    N a v y. c o m w e b p a g e titl e d " P A T C H W E A R E R S " a n d s u btitl e d " T H E R E A L
     7    T O P G U N, " l o c at e d at htt ps:// w w w. n a y y. c o m/f a c es-fl e et- e p- 1 9- p at c h- w e ar ers,
     8    r etri e v e d b y m e o n A u g u st 2, 2 0 2 3, a n d pr o d u c e d i n t his m att er b y P P C wit h B at es
     9    n u m b er s T G M 0 1 6 8 1 6 1 - T G M 0 1 6 8 1 7 2.
    10              19 .     E x hi bit 1 S t o t his d e cl ar ati o n is a tr u e a n d c orr e ct c o p y of a vi d e o cli p
    11    titl e d " E p. 1 9: P at c h W e ar ers: T h e R e al T O P G U N " wit h a r u nti m e of 8 mi n ut e a n d
    12    4 4 s e c o n d s fr o m a N a v y. c o m w e b p a g e l o c at e d at htt ps:// w w w. n a y y. c o m/f a c es-
     l3   fl e et- e p- 1 9- p at c h- w e ar ers, r etri e v e d b y m e o n A u g ust 2, 2 0 2 3, a n d pr o d u c e d i n t his
    14    m att er b y P P C wit h B at es n u m b er T G M 0 1 6 8 1 7 3. A p h ysi c al c o p y of E x hi bit 1 5 is
    15    b ei n g l o d g e d wit h t h e C o urt o n a U S B dri v e .
    16
    17             I d e cl ar e u n d er p e n alt y of p erj ur y t h at t h e f or e g oi n g is tr u e a n d c orr e ct.
    18    E x e c ut e d o n N o v e m b er 6, 2 0 2 3 i n L os A n g el es, C alif or ni a.
    19
    20
                                                                                      A A~
                                                                                   M att h \ K ai s er
    21
    22
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    24
    25
    26
    27
    28
                                                                                           K AI S E R D E C L A R A T I O N I S O P P C ' S
                                                                       3               M O TI O N F O R S U M M A R Y J U D G M E T
